SPViRey aes OM OOS BE” ECE NG! 1-6, PagelD.24 Filed 05/05/21 Page i*6F1°!!

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Order Confirmation - #6257597
Thursday, October 22, 2020 11:48 AM

Order Status: Processing Order
Order Tracking: Pending
Product Quantity Price Total

Purchased Items:

2017 Chardonnay Reserve

item No. 415840 1 $30.00 $30.00
Order Total:
Payment Information Billing Address Subtotal $30.00

  

Total Shipping $23.53
Total Tax $0.00
Total: $53.53

 

Shipping To:

 

Shipping Method: UPS Ground
Est, Delivery: 5 business days

330 Kubli Road Grants Pass, OR 97527 + 541-846-9985
www. sfvineyards.com

EXHIBIT 6

https://shop.sfvineyards.com/xs-account-order-receipt.aspx ?0id=6257597 10/22/2020
